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 6   Attorneys for Defendants DR. GEORGE GOLLIN,
     THE BOARD OF TRUSTEES OF THE UNIVERSITY
 7   OF ILLINOIS, erroneously sued as THE UNIVERSITY
     OF ILLINOIS-URBANA CHAMPAIGN
 8
                      UNITED STATES DISTRICT COURT
 9
            CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION
10
     ST. LUKE SCHOOL OF MEDICINE;                    Case No.: 10-CV-01791 RGK (SHx)
11   DR. JERROLL B.R. DOLPHIN and
     DR. ROBERT FARMER on behalf of                  [Honorable R. Gary Klausner]
12   himself and all others similarly situated, as
     applicable,                                     AMENDED NOTICE OF
13                                                   APPLICATION TO THE CLERK TO
                  Plaintiffs,                        TAX COSTS
14
      v.                                             Date:      October 14, 2010
15                                                   Time:      9:00 a.m.
     REPUBLIC OF LIBERIA; MINISTRY OF
16   HEALTH, a Liberian Governmental
     Agency; MINISTRY OF EDUCATION, a
17   Liberian Governmental Agency; LIBERIAN
     MEDICAL BOARD, a Liberian
18   Governmental Agency; NATIONAL
     COMMISSION ON HIGHER
19   EDUCATION, a Liberian Governmental
     Agency; NATIONAL TRANSITIONAL
20   LEGISLATIVE ASSEMBLY, a Liberian
     Governmental A enc DR. ISAAC
21   ROLAND; MO               ; D SHERIFF; DR.
     BENSON BARK DR. GEORGE GOLLIN;
22   EDUCATION COMMISSION FOR
     FOREIGN MEDICAL GRADUATES; a
23   Pennsylvania Non-Profit organization;
     FOUNDATION FOR ADVANCEMENT
24   OF INTERNATIONAL EDUCATION
     AND RESEARCH; a Pennsylvania Non-
25   Profit organization, UNIVERSITY OF
     ILLINOIS-URBANA CHAMPAIGN, an
26   Illinois Institution of Higher Learning;
     STATE OF OREGON, Office of Degree
27   Authorization,
28                Defendants.
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 1   TO PLAINTIFFS AND TO THEIR RESPECTIVE COUNSEL OF RECORD:
 2           PLEASE TAKE NOTICE that on October 14, 2010, at 9:00 a.m., defendants
 3   Dr. George Gollin and the Board of Trustees of the University Of Illinois, erroneously
 4   sued as the University Of Illinois-Urbana Champaign, will and hereby do apply to the
 5   Clerk of the Court for an award of costs in the amount of $1,107.47 pursuant to the
 6   Court's Order, dated September 14, 2010.
 7           If a hearing is required, the Clerk's designee will contact the parties no later
 8   than 48 hours before the above hearing date and time to notify the parties whether it is
 9   necessary to appear telephonically or in person. Otherwise, the matter will be
10   determined on the papers submitted by the parties.
11
12   DATED: September 24, 2010 Respectfully Submitted
13                                     MICHAEL D. YOUNG
14                                     NICOLE C. RIVAS
                                       ALSTON & BIRD LLP
15
16                                                               Is/

17                                                       Nicole C. Rivas
                                       Attorneys for Defendants THE BOARD OF
18                                     TRUSTEES OF THE UNIVERSITY OF ILLINOIS;
                                       and DR. GEORGE GOLLIN
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